9 F.3d 1543
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kevin FERGUSON, Plaintiff-Appellant,v.Ralph Lamb;  John Blackwood;  Mark Batson;  Larry D. Smith;Bill Coffey, in his official capacity as Sheriffof Spartanburg County, Defendants-Appellees.
    No. 93-6699.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 25, 1993.Decided:  November 16, 1993.
    
      Appeal from the United States District Court for the District of South Carolina, at Spartanburg.
      Kevin Ferguson, Appellant Pro Se.
      Edwin Pruitt Martin, Jr., Gibbes &amp; Clarkson, P.A., Greenville, South Carolina;  W. Howard Boyd, Jr., Rainey, Britton, Gibbes &amp; Clarkson, Greenville, South Carolina, for Appellees.
      D.S.C.
      DISMISSED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant appeals from the magistrate judge's order denying his motion to amend his complaint in this 42 U.S.C.s 1983 (1988) action.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1988);  Fed.  R. Civ. P. 54(b);   Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    